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                           UNITED STATES DISTRICT COURT
                                         DISTRICT OF COLUMBIA

Nat'l Treasury Employees Union, et. al
                                                      )
                      Plaintiff(s)                    )
                                                      )
vs.                                                   )       Case Number:     1:25-cv-0381-ABJ
Russell Vought, et al.                                )
                                                      )
                     Defendant(s)

                              DECLARATION FOR PRO HAC VICE ADMISSION
                             (to be attached to Motion for Pro Hac Vice Admission)

       In accordance with LCvR 83.2 (c)(2) and LCvR 44.1 (c)(2), I hereby declare that
the answers to the following questions are complete, true, and correct:
1. Full Name: Hannah Meredith Kieschnick
2. State bar membership number: 319011 (CA)
3. Business address, telephone and fax numbers:
      475 14th St., Ste. 610, Oakland, CA 94612. T: 510-622-8150. F: 202-232-7203
4. List all state and federal courts or bar associations in which you are a member “in good standing”
      to practice law:
      California and see list for others
5. Have you been denied admission, disbarred, suspended from practice, reprimanded, denied “in
      good standing” status, or otherwise disciplined by any court, bar association, grievance committee
      or administrative body? Yes             No ✔

6. Have any proceedings which could lead to any such disciplinary action been instituted against you
      in any such bodies?       Yes    __ _No ✔
      (Please attach a statement explaining any “Yes” answers to questions 5 or 6.)

7. List the number of times the attorney has been admitted pro hac vice into this court within the last
      two years. 0
      (If your principal office is located in the District of Columbia, please answer questions 8 and 9.)

8. Are you a member of the DC Bar? 0

9. Do you have a pending application for admission into USDC for the District of Columbia? No
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                          ADDENDUM OF COURT ADMISSIONS
                            FOR HANNAH M. KIESCHNICK

Name of Bar / Court                    Bar No.    Date Admitted   Date Renewed Status
                                       (if any)                   (if any)

California Bar                         319011     12/11/2017                     Active

Supreme Court of California            319011     12/11/2017                     Active

Supreme Court of the United            319622     10/02/2023                     Active
States

U.S. Court of Appeals for the                     09/13/2023                     Active
Second Circuit

U.S. Court of Appeals for the                     06/12/2023                     Active
Third Circuit

U.S. Court of Appeals for the                     01/22/2024                     Active
Fourth Circuit

U.S. Court of Appeals for the                     02/18/2025                     Active
Eighth Circuit

U.S. Court of Appeals for the                     01/08/2020                     Active
Ninth Circuit

U.S. Court of Appeals for the                     01/19/2024                     Active
Tenth Circuit

U.S. District Court, Central           319011     08/31/2022      05/10/2023     Active
District of California

U.S. District Court, Eastern           319011     03/07/2022                     Active
District of California

U.S. District Court, Northern          319011     04/06/2020                     Active
District of California

U.S. District Court, Southern          319011     01/18/2023                     Active
District of California

U.S. District Court for the District              11/28/2023                     Inactive
of Colorado
